Case 1:21-cr-00371-BMC-TAM Document 45

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Filed 10/08/21 Page 1 of 1 PagelID #: 275

 

UNITED STATES OF AMERICA
-against-
AL MALIK ALSHAHHI, ev. al.

Defendants.

Case No. 21-CR-371 (BMC)

 

 

NOTICE OF MOTION FOR ADMISSION PRO HAC VICE

PLEASE TAKE NOTICE that upon Movant’s Affidavit in support of this Motion, and the

attached Certificate of Good Standing, we will move this Court pursuant to Rule 1.3(c) of the

Local Rules of the United States District Courts, for the Southern and Eastern Districts of New

York, for an Order allowing admission of Movant, a member in good standing of the Bar of the

State of California, as attorney pro hac vice to argue or try this case in whole or in part as

counsel for THOMAS JOSEPH BARRACK. There are no pending disciplinary proceedings

against me in any State or Federal Court.

Dated: Goleta, CA Respectfully submitted,
O’MELVENY & MYERS LLP

October 8, 2021

/s/ James A. Bowman

 

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